                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION


UNITED STATES OF AMERICA                  )
                                          )
Plaintiff                                 )
                                          )
       v.                                 )         Case No.: 1:21cr0005
                                          )
JAAP WILLEM LIJERS                        )
                                          )
Defendant                                 )


                                MOTION TO SEAL

   Comes now, counsel for the defendant, moving this Honorable Court to place

under seal Exhibit 1 of the Sentencing Memorandum (ECF Docket #38). In support,

counsel avers that Exhibit 1 of the Sentencing Memorandum contains information

of a sensitive and private personal nature.

                                              Respectfully submitted,

                                              Jaap Willem Lijbers
                                              By Counsel


                                              Nancy Dickenson-Vicars
                                              Nancy Dickenson-Vicars
                                              Assistant Federal Public Defender
                                              Virginia State Bar # 28120
                                              Attorney for the defendant
                                              Federal Public Defender’s Office
                                              201 Abingdon Place
                                              Abingdon, VA 24211
                                              Telephone: (276) 619-6086
                                              Fax: (276) 619-6090
                                              nancy_dickenson@fd.org
                          CERTIFICATE OF SERVICE

   I hereby certify that on August 12, 2021, I caused the foregoing Motion to Seal to
be electronically filed with the Clerk of the Court using the CM/ECF system, which
will send notification to the Assistant United States Attorney.
                                          s/Nancy Dickenson-Vicars
